 1 Martha G. Bronitsky
     Chapter 13 Standing Trustee
 2 Po Box 5004
     Hayward,CA 94540
 3
     (510) 266- 5580
     13trustee@oak13.com
 4

 5 Trustee for Debtor(s)

 6
                           UNITED STATES BANKRUPTCY COURT
 7                                       of the
                           NORTHERN DISTRICT OF CALIFORNIA
 8

 9 In Re
             Catherine Crass Mccause                  Chapter 13 Case Number:
                                                      14-41026-RLE13
10

11                                      Debtors(s)

12                 ACCOUNTING OF CHAPTER 13 PLAN PAYMENTS

13
        The Trustee represents that as of July 10, 2018, all the payments owed by the above
14
     named debtor(s) in the Chapter 13 Case filed on March 10, 2014 and confirmed by the
15
     Court, have been paid.
16

17
     DATE: August 02, 2018                           /s/ Martha G. Bronitsky
18                                                   Martha G. Bronitsky
                                                     Chapter 13 Standing Trustee
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